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        The interest in judicial convenience is manifest. The Court has already
 consolidated other cases bringing nearly the same claims. Having the Black action
 proceed separately would generate needlessly duplicative work for the Court and the
 parties. At this early stage of litigation, there is little potential for delay, confusion,
 or prejudice from consolidation. Not consolidating these cases would instead
 increase the potential for delay, confusion, and prejudice. Consolidated briefing,
 scheduling, and discovery would help the parties and the Court take advantage of
 the efficiencies generated from addressing issues once rather than several times. The
 Court thus concludes consolidation is appropriate. Should matters develop such that
 consolidation is no longer appropriate, the parties can move for relief.

        The Court orders the following:

 (1) Pursuant to Fed. R. Civ. P. 42(a), In re Pandora Media, LLC Copyright
 Litigation, No. 2:22-cv-00809-MCS-MAR, and Lewis Black v. Pandora Media,
 LLC, No. 2:22-cv-04634-MCS-MAR, are consolidated for pretrial purposes and
 should be captioned as:


  In re PANDORA MEDIA, LLC
  COPYRIGHT LITIGATION
                                               Master File No. 2:22-cv-00809-MCS-
                                               MAR

                                               CONSOLIDATED ACTION


  This Document Relates To:
  ALL ACTIONS




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 (2) The file in Case No. 2:22-cv-00809-MCS-MAR shall constitute the master
 file for every action in the consolidated action. The Clerk shall administratively close
 the Black action. When the document being filed pertains to all actions, the phrase
 “All Actions” shall appear immediately after the phrase “This Document Relates
 To:”. When a pleading applies to some, but not all, of the actions, the document shall
 list, immediately after the phrase “This Document Relates To:”, the docket number
 for each individual action to which the document applies and the last name of the
 first-listed plaintiff in said action.

 (3) The Court vacates all deadlines regarding a responsive pleading to Lewis
 Black’s complaint. The Court will address any issues regarding pleadings at the
 August 29, 2022 scheduling conference. The parties shall propose a plan for
 incorporating Lewis Black as a consolidated Plaintiff into this case in their Rule
 26(f) report.

 IT IS SO ORDERED.




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